     Case 2:17-cv-04439-DSF-PLA Document 43 Filed 02/16/18 Page 1 of 2 Page ID #:459



 1

 2

 3

 4

 5

 6

 7

 8                            UNITED STATES DISTRICT COURT

 9                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

10
      UNITED STATES OF AMERICA,                NO. CV 17-4439-DSF (PLAx)
11
                 Plaintiff,
12
                       v.                      ORDER EXTENDING CLAIM DEADLINE TO
13                                             MARCH 15, 2018 AND ANSWER DEADLINE
      ALL RIGHTS TO AND INTERESTS IN           TO APRIL 5, 2018
14    THE MOTION PICTURES “DADDY’S
      HOME” AND “DUMB AND DUMBER TO,”
15    BELONGING TO RED GRANITE
16    PICTURES,

17              Defendants.

18

19          Pursuant to stipulation and request of the parties, and good

20    cause appearing therefor, IT IS ORDERED that the time within which

21    potential claimants Red Granite Pictures, Inc.; Red Granite Capital

22    Ltd.; Red Granite Capital US, LLC; Red Granite International, Inc.;

23    Red Granite Entertainment Holdings, LLC; DDTo Finance, LLC; Dumb and

24    Dumber To, LLC; RGDD2 Productions, LLC; Daddy’s Home LLC; Riza

25    Shahriz Bin Abdul Aziz; Christopher Joey McFarland; the Directors

26    Guild of America, Inc.; Screen Actors Guild-American Federation of

27    Television and Radio Artists; the Writers Guild of America West,

28    Inc.; their respective Pension and Health Plans; the Motion Picture
     Case 2:17-cv-04439-DSF-PLA Document 43 Filed 02/16/18 Page 2 of 2 Page ID #:460



 1    Industry Pension and Health Plans; and Paramount Pictures (“potential

 2    claimants”) may file claims identifying their right or interest in

 3    the defendant property in the above-referenced case is extended to

 4    March 15, 2018, and the time within which potential claimants must

 5    file any answer or otherwise respond to the Complaint in the above-

 6    referenced case is extended to April 5, 2018.

 7

 8               2/16/18

 9    DATED:                                    ____________________________
                                                UNITED STATES DISTRICT JUDGE
10
      PRESENTED BY:
11

12    DEBORAH CONNOR, Acting Chief
      Money Laundering and Asset Recovery Section (MLARS)
13    United States Department of Justice
      WOO S. LEE
14    JONATHAN BAUM
      BARBARA LEVY
15    Criminal Division
16    U.S. Department of Justice

17    NICOLA T. HANNA
      United States Attorney
18    LAWRENCE S. MIDDLETON
      Assistant United States Attorney
19    Chief, Criminal Division
      STEVEN R. WELK
20
      Assistant United States Attorney
21    Chief, Asset Forfeiture Section

22
      /s/John J. Kucera
23    JOHN J. KUCERA
      JONATHAN GALATZAN
24
      Assistant United States Attorneys
25
      Attorneys for Plaintiff
26    UNITED STATES OF AMERICA

27

28

                                            2
